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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                                             :
       v.                                    :
                                             :       No. 1:21-cr-00022-CKK
                                             :
CHRISTOPHER RAY GRIDER                       :
                                             :
               Defendant.                    :

    GOVERNMENT’S OPPOSITION TO DEFENDANT’S AMENDED MOTION TO
             DISMISS COUNT FOUR OF THE INDICTMENT

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully submits this opposition to defendant Christopher Grider’s Amended

Motion to Dismiss Count Four of the Indictment (hereinafter, “Def. Mot.”)—namely, defendant’s

alleged violation of 18 U.S.C. §§ 1512(c)(2) and 2. For the reasons set forth below, and consistent

with recent rulings by other judges in this district in United States v. Sandlin, 21-cr-88 (DLF),

2021 WL 5865006 (D.D.C. Dec. 10, 2021), United States v. Caldwell, 21-cr-28 (APM), 2021 WL

6062718 (D.D.C. Dec. 20, 2021), reconsideration denied, 2022 WL 203456 (D.D.C. Jan. 24,

2022); United States v. Mostofsky, 21-cr-138 (JEB), 2021 WL 6049891 (D.D.C. Dec. 21, 2021),

United States v. Montgomery, 21-cr-46 (RDM), 2021 WL 6134591 (D.D.C. Dec. 28, 2021), and

United States v. Nordean, 21-cr-175 (TJK), 2021 WL 6134595 (D.D.C. Dec. 28, 2021)—which

the defendant concedes have “addressed and rejected” these same arguments “in one form or

another” (Def. Mot. at 4)—the defendant’s motion should be denied. The Joint Session of

Congress convened on January 6, 2021 to certify the Electoral College vote in the 2020 Presidential

Election—a proceeding enshrined in and prescribed by the United States Constitution and federal

law—plainly constitutes an “official proceeding” under 18 U.S.C. § 1512(c)(2). Nothing in



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§ 1512(c)(2)’s text, structure, or history limit the statute to obstructive acts akin to the destruction

of evidence. Section 1512(c)(2) is not unconstitutionally vague as applied to the defendant, and

the rule of lenity does not counsel a different interpretation. The defendant’s various arguments

to the contrary are unsupported by the law and facts of this case.

                                    PROCEDURAL HISTORY

       On January 26, 2021, a grand jury in the District of Columbia returned an indictment

charging the defendant, Christopher Ray Grider, with destruction of government property, in

violation of 18 U.S.C. §§ 1361 and 2, obstruction of an official proceeding, in violation of 18

U.S.C. §§ 1512(c)(2) and 2 (Count Four), entering or remaining in a restricted building or grounds,

in violation of 18 U.S.C. § 1752(a)(1), disorderly and disruptive conduct in a restricted building

or grounds, in violation of 18 U.S.C. § 1752(a)(2), disorderly conduct in a Capitol building, in

violation of 40 U.S.C. § 5104(e)(2)(D), impeding passage through the Capitol building, in

violation of 40 U.S.C. § 5104(e)(2)(E), and an act of physical violence in the Capitol building, in

violation of 40 U.S.C. § 5104(e)(2)(F).

       On March 22, 2021, the defendant filed a Motion to Dismiss Count Four of the Indictment,

D.E. 21, which the government opposed on April 5, 2021, D.E. 22. On May 4, 2021, the

defendant’s counsel emailed the Court to hold the motion “in abeyance” and “withhold making a

ruling,” and the Court issued a minute order that same day vacating a motions hearing. At the

July 1, 2021, status hearing, the defendant’s counsel reiterated that the motion should continue to

be held in abeyance as the defense moved “in a different direction.”              In the interim, the

defendant’s counsel pursued litigation of the same issue in United States v. Montgomery, 21-cr-46

(RDM), filing motions to dismiss the charged violations of 18 U.S.C. § 1512(c)(2) on June 18,

2021, September 17, 2021, and December 6, 2021. On December 28, 2021, the Montgomery



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court denied the motion to dismiss. On January 12, 2022, the defendant’s counsel filed the instant

Amended Motion to Dismiss, D.E. 69.

                                  FACTUAL BACKGROUND

       The U.S. Capitol is secured 24 hours a day by the United States Capitol Police (“USCP”).

Restrictions around the U.S. Capitol include permanent and temporary security barriers and posts

manned by USCP. Only authorized people with appropriate identification are allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to

members of the public.

       On January 6, 2021, a joint session of the United States Congress convened at the U.S.

Capitol. During the joint session, elected members of the United States House of Representatives

and the United States Senate were meeting in separate chambers of the U.S. Capitol to certify the

vote count of the Electoral College of the 2020 Presidential Election, which took place on

November 3, 2020 (“Certification”). The joint session began at approximately 1:00 p.m. Eastern

Standard Time (“EST”). Shortly thereafter, by approximately 1:30 p.m. EST, the House and Senate

adjourned to separate chambers to resolve a particular objection. Vice President Michael R. Pence

was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President

Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As

noted above, temporary and permanent barricades were in place around the exterior of the U.S.

Capitol building, and USCP were present and attempting to keep the crowd away from the Capitol

building and the proceedings underway inside.




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       At around 1:00 p.m. EST, rioters broke through the police lines, toppled the outside

barricades protecting the U.S. Capitol, and pushed past USCP and supporting law enforcement

officers there to protect the U.S. Capitol.

       At approximately 2:00 p.m. EST, some people in the crowd forced their way through, up,

and over the barricades and law enforcement. The crowd advanced to the exterior façade of the

building. The crowd was not lawfully authorized to enter or remain in the building and, prior to

entering the building, no members of the crowd submitted to security screenings or weapons

checks by U.S. Capitol Police Officers or other authorized security officials. At such time, the

certification proceedings were still underway, and the exterior doors and windows of the U.S.

Capitol were locked or otherwise secured. Members of law enforcement attempted to maintain

order and keep the crowd from entering the Capitol.

       Shortly after 2:00 p.m. EST, individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

crowd encouraged and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. EST, members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Pence, were instructed to—and did—evacuate the chambers. That is, at or about this time, USCP

ordered all nearby staff, Senators, and reporters into the Senate chamber and locked it down.

USCP ordered a similar lockdown in the House chamber. As individuals attempted to break into

the House chamber by breaking the windows on the chamber door, law enforcement officers were

forced to draw their weapons to protect the victims sheltering inside.

       At approximately 2:30 p.m. EST, rioters broke windows and pushed past USCP and

supporting law enforcement officers forcing their way into the U.S. Capitol on both the west side



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and the east side of the building. Once inside, the rioters broke windows and doors, destroyed

property, stole property, and assaulted federal police officers. Many of the federal police officers

were injured, and several were admitted to the hospital. The rioters also confronted and terrorized

members of Congress, Congressional staff, and the media. The rioters carried weapons including

tire irons, sledgehammers, bear spray, and Tasers. They also took police equipment from overrun

police including shields and police batons. At least one of the rioters carried a handgun with an

extended magazine. These actions resulted in the disruption and ultimate delay of the vote

Certification.

       Also at approximately 2:30 p.m. EST, USCP ordered the evacuation of lawmakers, Vice

President Pence, and president pro tempore of the Senate, Charles Grassley, for their safety.

       At around 2:47 p.m. EST, rioters broke into the United States Senate Chamber. Publicly

available video shows an individual asking, “Where are they?” as they opened the door to the

Senate Chamber.

       Between 3:25 and around 6:30 p.m. EST, law enforcement officers were able to clear

rioters from the U.S. Capitol. Based on these events, all proceedings of the United States Congress,

including the joint session, were effectively suspended until shortly after 8:00 p.m. EST the same

day. In light of the dangerous circumstances caused by the unlawful entry to the U.S. Capitol,

including the danger posed by individuals who had entered the U.S. Capitol without any security

screening or weapons check, Congressional proceedings could not resume until after every

unauthorized occupant had left the U.S. Capitol, and the building had been confirmed secured.

The proceedings resumed at approximately 8:00 pm EST after the building had been secured.

Vice President Pence remained in the United States Capitol from the time he was evacuated from

the Senate Chamber until the session resumed.



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                The Defendant’s Participation in the January 6, 2021, Capitol Riot

       On the evening of January 6, 2021, the defendant, Christopher Grider, was interviewed,

apparently via videoconference from Washington, D.C., on a story on KWTX-TV News 10, a local

news media station in Waco, Texas. During the interview, the defendant admitted to being inside

the U.S. Capitol Building that day, when it was breached by large crowds as Congress convened

in a Joint Session to affirm the Electoral College vote in the 2020 Presidential Election. The

defendant described being within several feet of the woman who was shot inside the Capitol. The

defendant stated on camera, “The president asked people to come and show their support… I feel

like it’s the least that we can do, it’s kind of why I came from central Texas all the way to DC.”

The story included video captioned as, “Courtesy: Chris Grider.” The defendant told the reporter,

“They were shocked as everyone else was when the people on the other side of the door, from 20

feet away, shot her in the chest. At that point we were all panicked, we couldn’t leave because

there were thousands of people behind us pushing us forward.” The web version of the story

additionally quotes the defendant as saying, “The Capitol Police started pepper-spraying people

and they were firing rubber bullets, and then after that started, that’s when people started pushing

to get into the Capitol building to be heard” and reports that “Grider said … there were many

protesters, like himself, who were protecting monuments and art from the crowds.”

       Open-source videos corroborated the defendant’s admission that he was inside the Capitol

on January 6, 2021. The footage showed the defendant wearing a black puffy jacket that appeared

to match the one during his interview, a yellow “Don’t Tread on Me” flag tied around his neck,

and at some points, a red “Make America Great Again” baseball cap. Before the breach of the

Capitol Building, the defendant was viewed outside amongst the crowd standing on a marble

landing near scaffolding. He was holding his phone and moving it around likely taking videos or

pictures of the crowd, and then observed walking on the railing beside the stairs.
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       Inside the Capitol, the defendant was observed in several areas.       At one point, the

defendant was in a raucous crowd that was pushed up against an entrance to the House Chamber,

chanting “Stop the Steal.” He was seen in the crowd holding a black helmet in the air in the

direction of the entrance around the time that shouts of “Use your Kevlar” could be heard.




       Large numbers of the crowd appeared to leave that entrance to the House Chamber and

stream toward the Speaker’s Lobby, a hallway that also connects to the House Chamber. The

defendant appeared to be among the first people to race down the hallway.




       The defendant was among the first individuals to arrive by the Speaker’s Lobby door.




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The words “Speaker’s Lobby” were visible at the top of the doors. Chairs, visible through the

door’s glass panels, were used to barricade the door from the inside of the Speaker’s Lobby. The

door was guarded by three Capitol Police officers in front.

       The area soon became packed. The defendant continued to stand near the front of the

crowd by the doors, and remained near the front until seconds before a woman’s fatal shooting.

Members of the crowd were shouting and gesticulating at the officers. A male rioter wearing a

fur-lined hat was observed repeatedly punching the glass panels of the doors immediately behind

the officers with his fists, causing the glass to splinter. While throwing two of the punches, that

rioter pushed his body up against one of the Capitol Police officers guarding the door. That rioter

was also observed shouting and pointing aggressively at the officers. The defendant was then

observed handing a black helmet to that rioter and speaking to him. The defendant appeared to

knock on the top of the helmet, signifying that it was a hard instrument, and the rioter then took it.

Additional officers in riot gear arrived behind the crowd at the Speaker’s Lobby doors, and the

three officers guarding the door appeared to move to the adjacent wall.



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       Seconds after the officers stepped away from the doorway, the defendant moved in and

attempted to push open the doors. The rioter with the fur-lined hat used the defendant’s helmet

to violently and repeatedly strike the glass-paned doors in the center and far-right hand side, further

shattering the glass. Another rioter rammed the glass repeatedly with a flagpole. Chants could

be heard of “Break it down!” and “Let’s fucking go!”




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       Within seconds, the defendant was observed backing away from the Speaker’s Lobby door

as individuals in the crowd were screaming “gun.” A woman was shot while attempting to climb

through one of the shattered windows. After the shooting, several people ran out of the hallway

as police were yelling to get out of the way. The defendant remained and could be seen minutes

after the shooting leaning over the railing to look at the woman and holding up his phone.

Ultimately, large numbers of Metropolitan Police Department officers arrived and pushed the

gathered crowd, including the defendant, out of an exit on the House side of the Capitol Building.




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                                      LEGAL STANDARD

       Before trial, a defendant in a criminal case may move to dismiss an indictment for failure

to state an offense. Fed. R. Crim. P. 12(b)(3)(B)(v). A valid indictment must set out “the elements

of the offense intended to be charged and sufficiently apprise the defendant of what he must be

prepared to meet.” United States v. Pickett, 353 F.3d 62, 67 (D.C. Cir. 2004). The Government

must state the essential elements of the crime and allegations “with sufficient specificity.” United

States v. Childress, 58 F.3d 693, 720 (D.C. Cir. 1995), see also United States v. Griffin, 21-cr-92

(TNM), 2021 WL 2778557 (D.D.C. Jul. 2, 2021).

       A pretrial motion may challenge “a defect in the indictment or information” if “the basis

for the motion is then reasonably available and the motion can be determined without a trial on the

merits.” Id. “An indictment must be viewed as a whole and the allegations must be accepted as

true in determining if an offense has been properly alleged.” United States v. Bowdin, 770 F. Supp.

2d 142, 146 (D.D.C. 2011). The operative question is whether the allegations, if proven, would be

sufficient to permit a jury to find that the crimes charged were committed. Id. Although a court’s

supervisory powers provide the authority to dismiss an indictment, “dismissal is granted only in

unusual circumstances.” United States v. Ballestas, 795 F.3d 138, 148 (D.C. Cir. 2015).

       Federal Rule of Criminal Procedure 7(c)(1) governs the “Nature and Contents” of an

indictment. The rule states, in relevant part, that “[t]he indictment … must be a plain, concise, and

definite written statement of the essential facts constituting the offense charged,” and that “[f]or

each count, the indictment or information must give the official or customary citation of the statute,

rule, regulation, or other provision of law that the defendant is alleged to have violated.”




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       Section 1512(c)(2) of Title 18 of the U.S. Code provides that “[w]hoever corruptly . . .

obstructs, influences, or impedes any official proceeding, or attempts to do so, shall be fined under

this title or imprisoned not more than 20 years, or both.”

                                           ARGUMENT

I.     THE DEFENDANT WAS AFFORDED ADEQUATE NOTICE OF WHAT
       “OFFICIAL PROCEEDING” HE IS CHARGED WITH OBSTRUCTING.

       The defendant’s motion suggests in passing that he was not afforded sufficient notice of

“what ‘proceeding before Congress’ Mr. Grider allegedly obstructed” (Def. Mot. at 2). But the

defendant is well aware that the “proceeding before Congress” that he allegedly obstructed was

the certification of the Electoral College vote for the 2020 Presidential Election. He received

ample notice not only from the indictment, but the criminal complaint, which devoted a page and

half to detailing the commencement, disruption, and resumption of the Electoral College vote

certification on January 6, 2021, and in connection with his detention-related hearings and

associated filings in both the Western District of Texas and this jurisdiction. As his pleading

reflects, there is no basis for suggesting that the defendant is unable to sufficiently understand what

proceeding he is being charged with obstructing.

       To be sufficient under the Constitution, an indictment “need only inform the defendant of

the precise offense of which he is accused so that he may prepare his defense and plead double

jeopardy in any further prosecution for the same offense.” United States v. Verrusio, 762 F.3d 1,

13 (D.C. Cir. 2014); see United States v. Resendiz-Ponce, 549 U.S. 102, 108 (2007). Federal Rule

of Criminal Procedure 7(c) effectuates that understanding, requiring “a plain, concise, and definite

written statement of the essential facts constituting the offense charged.” As this Court has stated,

“‘an indictment must contain every element of the offense charged and must fairly apprise the

accused of the conduct allegedly constituting the offense so as to enable him to prepare a defense

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against those allegations.’” United States v. Hillie, 227 F. Supp. 3d 57, 81 (D.D.C. 2017)

(emphases in original).

       The defendant’s indictment readily meets this standard. Count Four sets forth the essential

elements of a § 1512(c)(2) offense. It not only tracks and echoes the statute, but specifies the date

of the obstruction (“January 6”), its precise location (“in the United States Capitol”), the acts

amounting to obstruction (“entering and remaining … without authority and engaging in disorderly

and disruptive conduct and destroying federal property”), and the type of official proceeding (“that

is, a proceeding before Congress”). See United States v. Resendiz-Ponce, 549 U.S. 102, 108

(2007) (upholding sufficiency of indictment that echoed statute while specifying time and place of

the offense and identity of the threatened officer); United States v. Williamson, 903 F.3d 124, 131

(D.C. Cir. 2018) (same). The defendant is in no way uncertain about what conduct of his

“allegedly constitut[es] the offense.” Hillie, 2127 F. Supp. 3d at 81. He is in no way hamstrung

in his preparation of a defense or ability to invoke double jeopardy should he be prosecuted again

for this same conduct. And to the extent his dispute ultimately lies with why that proceeding

constitutes a “proceeding before Congress”—not which “proceeding before Congress” he

obstructed—that argument has nothing to do with notice or the sufficiency of the indictment.

II.    COUNT FOUR STATES AN OFFENSE; THE DEFENDANT’S ALLEGED
       CONDUCT CLEARLY VIOLATES SECTION 1512.

       Count Four of the indictment charges the defendant with violating § 1512(c)(2) by

corruptly obstructing, influencing, or impeding any official proceeding.             The defendant

principally argues that Count Four fails to state an offense because Congress’s certification of the

Electoral College vote on January 6 was not an “official proceeding” under 18 U.S.C. § 1515 (Def.

Mot. at 2). But several judges in this district have thoughtfully concluded otherwise, see Sandlin,

2021 WL 5865006; Caldwell, 2021 WL 6062718, reconsideration denied, 2022 WL 203456;

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Mostofsky, 2021 WL 6049891; Montgomery, 2021 WL 6134591; Nordean, 2021 WL 6134595,

and this Court should hold likewise in accordance with the statute’s plain text, structure, and

history. The defendant’s remaining arguments—that the word “otherwise” in § 1512(c)(2) limits

its scope to obstructive conduct that impairs the integrity and availability of evidence; that the

word “corruptly” in § 1512(c)(2) is unconstitutionally vague as applied; and that the rule of lenity

warrants dismissal of the § 1512(c)(2) charge—are likewise without merit. Section 1512(c)(2) is

not constitutionally infirm, and the defendant’s alleged conduct falls squarely within the ambit of

the statute.

        A.     Certification of the Electoral College Vote is an “Official Proceeding”

        Congress’s Joint Session on January 6, 2021, to review, count, and certify the Electoral

College vote as set out in the Constitution and federal statutes constitutes an “official proceeding”

for purposes of § 1512(c)(2). An “official proceeding” for purposes of § 1512(c)(2) is defined as:

        (A) a proceeding before a judge or court of the United States, a United States magistrate
        judge, a bankruptcy judge, a judge of the United States Tax Court, a special trial judge of
        the Tax Court, a judge of the United States Court of Federal Claims, or a Federal grand
        jury;

        (B) a proceeding before the Congress;

        (C) a proceeding before a Federal Government agency which is authorized by law; or

        (D) a proceeding involving the business of insurance whose activities affect interstate
        commerce before any insurance regulatory official or agency or any agent or examiner
        appointed by such official or agency to examine the affairs of any person engaged in the
        business of insurance whose activities affect interstate commerce.

18 U.S.C. § 1515(a)(1) (emphasis added).2        The certification of the Electoral College vote

constitutes a “proceeding before the Congress” as a matter of the statute’s plain text. See, e.g.,

Caldwell, 2021 WL 6062718 at *4 (“A straightforward reading of that definition easily reaches




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the Certification of the Electoral College vote.”); Nordean, 2021 WL 6134595, at *4 (“Under this

straightforward definition [of § 1515(a)(1)(B)], Congress’s certification was a ‘proceeding.’”).

        Whatever conceivable questions arise as to the outer bounds of the term “proceeding before

the Congress,” the Electoral College vote certification constitutes a “proceeding” under any

interpretation. In its broadest and most “general sense,” a proceeding refers to “[t]he carrying on

of an action or series of actions; action, course of action; conduct, behavior.” United States v.

Ermoian, 752 F.3d 1165, 1169 (9th Cir. 2013) (quoting Proceeding, Oxford English

Dictionary, available at http://www.oed.com).         The defendant does not dispute that the

certification of the Electoral College vote, which involves a detailed “series of actions” outlining

how the vote is opened, counted, potentially objected to, and ultimately certified, would satisfy

that broad definition. And there is good reason to construe “proceeding” as used in 18 U.S.C. §

1515 broadly. Section 1515’s text encompasses not only congressional proceedings, but judicial

proceedings, grand jury proceedings, any legally authorized proceedings before federal

government agencies, and proceedings “involving the business of insurance.”              18 U.S.C.

§ 1515(a)(1); see S. Rep. No. 97-532, at 17 (1982) (noting that the “term ‘official proceeding’” in

the obstruction statute is “defined broadly”); Nordean, 2021 WL 6134595, at *4 (“that the

certification of the Electoral College vote consists of these ‘series of actions’ strongly suggests

that it is a ‘proceeding’ under the statute”).

        But even if a “legal—rather than the lay—understanding” of proceeding governs § 1515’s

interpretation, see Ermoian, 752 F.3d at 1170, the Electoral College vote certification still

qualifies. This narrower definition includes the “business conducted by a court or other official

body; a hearing.”     Black’s Law Dictionary, “proceeding” (11th ed. 2019).         Taken with its

modifier “official,” the term proceeding thus “connotes some type of formal hearing.” Ermoian,



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752 F.3d at 1170; see United States v. Ramos, 537 F.3d 439, 462 (5th Cir. 2008) (the “more formal

sense” of “official proceeding” is “correct in the context of § 1512”). For example, in cases

assessing whether a law enforcement investigation amounts to an “official proceeding” as defined

in Section 1515—including the Ermoian case relied upon by the defendant 1—courts analyze the

degree of formality involved in an investigation. See, e.g., United States v. Sutherland, 921 F.3d

421, 426 (4th Cir. 2019) (FBI investigation not an “official proceeding” because that term “implies

something more formal than a mere investigation”), cert. denied, 140 S. Ct. 1106 (2020); Ermoian,

752 F.3d at 1170-72 (same); United States v. Perez, 575 F.3d 164, 169 (2d Cir. 2009) (internal

investigation conducted by a review panel within the Bureau of Prisons was an “official

proceeding” because the review panel’s “work [was] sufficiently formal”); Ramos, 537 F.3d at

463 (internal investigation conducted by Customs and Border Patrol not an “official proceeding”

because that term “contemplates a formal environment”); United States v. Dunn, 434 F. Supp. 2d

1203, 1207 (M.D. Ala. 2006) (investigation conducted by Bureau of Alcohol, Tobacco, and

Firearms not an “official proceeding” because that term encompasses “events that are best thought

of as hearings (or something akin to hearings)”); see also United States v. Kelley, 36 F.3d 1118,

1127 (D.C. Cir. 1994) (holding that a “formal investigation” conducted by the Officer of the

Inspector General at the Agency for International Development qualified as a “proceeding” for

purposes of 18 U.S.C. § 1505) (emphasis added).




1 United States v. Ermoian, 752 F.3d 1165 (9th Cir. 2013), involved the distinct issue of whether an FBI investigation
counts as “a proceeding before a Federal Government agency which is authorized by law” under the distinct, narrower
statutory definition of 18 U.S.C. § 1515(a)(1)(C). The Ninth Circuit reasoned at the outset that the term “proceeding”
did not “conclusively resolve whether an FBI investigation qualifies” because narrower definitions “would exclude
criminal investigations in the field.” 752 F.3d at 1170. That is not the case here, where the Electoral College vote
certification satisfies even the narrower formulations of “proceeding” cited in Ermoian.


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       The formality involved in the certification of the Electoral College vote places it

“comfortably within the category” of an official proceeding. Perez, 575 F.3d at 169; see Sandlin,

2021 WL 5885006, at * 4 (“An ‘official proceeding’ … must be akin to a formal hearing,”

“Congress’s Joint Session to certify the electoral results is such a formal hearing,” and defendant’s

“extra requirements for an ‘official proceeding’ are absent from” the statutory text).           The

defendant strains to characterize the proceeding as “primarily” or “largely ministerial” (Def. Mot.

at 2, 15). But few events are as solemn and formal as a Joint Session of the Congress. That is

particularly true for the certification of the Electoral College vote, which is expressly mandated

under the Constitution and federal statute. Two separate provisions in the Constitution mandate

that the Vice President, while acting as the President of Senate “shall, in the Presence of the Senate

and House of Representatives, open all the Certificates, and the Votes shall then be counted.” U.S.

Const. art. II, § 1, cl. 3; U.S. Const amend. XII. Required by the Electoral Act of 1887 to begin

at “the hour of 1 o’clock in the afternoon” on “the sixth day of January succeeding every meeting

of the electors.” 3 U.S.C. § 15, the Joint Session of the Senate and house of Representatives to

certify the Electoral College vote is both a “hearing” and “business conducted by . . . [an] official

body.” See Black’s Law Dictionary, supra. To the extent the defendant would require some

formal convocation of the agency before which parties appear, the certification of the Electoral

College vote involves the formal convocation of Congress. The Vice President, as the President

of the Senate, serves as the “presiding officer” over a proceeding that counts votes cast by Electors

throughout the country in presidential election. 3 U.S.C. § 15. As in a courtroom, Members may

object, which in turn causes the Senate and House of Representatives to “withdraw” to their

respective chambers so each House can render “its decision” on the objection. Id. And just as

the judge and parties occupy specific locations in a courtroom, so too do the Members within the



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“Hall.” See 3 U.S.C. § 16 (President of the Senate is in the Speaker’s chair; the Speaker

“immediately upon his left”; the Senators “in the body of the Hall” to the right of the “presiding

officer”; the Representatives “in the body of the Hall not provided for the Senators”; various other

individuals “at the Clerk’s desk,” “in front of the Clerk’s desk,” or “upon each side of the Speaker’s

platform”). The Electoral College vote certification, moreover, must terminate with a decision:

no recess is permitted until the “the count of electoral votes” is “completed,” and the “result

declared.” Id. In short, the certification of the Electoral College vote readily constitutes a

“proceeding before the Congress.” See 18 U.S.C. § 1515(a)(1)(B).

       Accordingly, other judges of this Court have concluded that even if not all actions

occurring before Congress constitute an “official proceeding,” the certification of the Electoral

College does. See, e.g., Sandlin, 2021 WL 5865006, at *3-4 (finding that the certification of the

Electoral College is an official proceeding because the “Joint Session has the trappings of a formal

hearing before an official body[,]… the certificates of electoral results are akin to records or

documents produced during judicial proceedings, and any objection to these certificates can be

analogized to evidentiary objections.”); Montgomery, 2021 WL 6134591, at *4 (“Although

Defendants are correct that not every action taken within the walls of Congress constitutes an

‘official proceeding’ within the meaning of Section 1512(c), a joint session of Congress convened

to verify and count the electoral vote for President and Vice President of the United States does”).

       The defendant nonetheless draws on various contextual features and snippets of legislative

history to import a quasi-adjudicatory and quasi-evidentiary gloss to the meaning of an “official

proceeding” (Def. Mot. at 15). The defendant asserts that only those official proceedings “that

involve the administration of justice or Congress’ power of inquiry or investigation where

witnesses are called or evidence is presented and considered” fall within the statute (Def. Mot. at



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2). Under that narrowing construction, mere “formality does not equate to adjudicatory or

evidentiary” (Def. Mot. at 13), and the defendant contends that absent witnesses being called to

testify and evidence being considered, even an unquestionably formal Joint Session of Congress

to certify the Electoral College vote cannot be considered an official proceeding.

        Those contortions are at odds with the plain statutory text. Whatever the merits of that

argument for other provisions in § 1515(a)(1), it finds no textual support in § 1515(a)(1)(B).

Section 1515(a)(1)(B) speaks in plain and capacious terms of “a proceeding before the Congress”

– not “a proceeding before the Congress involving the administration of justice or Congress’ power

of inquiry or investigation where witnesses are called or evidence is presented and considered.”

As is well-established, to determine the meaning of a statute, the Court “look[s] first to its

language, giving the words used their ordinary meaning.” Levin, 568 U.S. at 513 (quoting Moskal

v. United States, 498 U.S. 103, 108 (1990)). In ordinary parlance, a gathering of the full Congress

to certify the Electoral College vote is “a proceeding before the Congress.”                   Because

§ 1515(a)(1)(B)’s words “are unambiguous, the judicial inquiry is complete.” See Babb v. Wilkie,

140 S. Ct. 1168, 1177 (2020) (internal quotation marks omitted); see also Connecticut Nat’l Bank

v. Germain, 503 U.S. 249, 253-54 (1992) (“We have stated time and again that courts must

presume that a legislature says in a statute what it means and means in a statute what it says there.”).

The defendant offers no rationale for breezing past the statute’s plain text to divine “Congress’

true intent” from other interpretive tools (Def. Mot. at 11 n.4). And, as other judges have

underscored, it does not fall to the courts to add qualifiers where Congress itself did not see fit to

do so. See, e.g., Caldwell, 2021 WL 6062718 at * 5 (“Congress did not intend to limit the

congressional proceedings protected under section 1512(c) to only those involving its

adjudicatory, investigative, or legislative functions. And the court will not add a requirement to



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the statute that Congress did not see fit to include.”); Sandlin, 2021 WL 5865006, at *4 (“[T]he

Court will not read an ‘administration of justice’ requirement into ‘official proceeding’” and “an

‘official proceeding’ need not be adjudicative”); Montgomery, 2021 WL 6134591, at *6 (rejecting

argument that Congress intended to limit the definition of “official proceeding” and “quasi-

judicial” proceedings, to proceedings at which witnesses appear and give testimony, or to

proceedings related “to the administration of justice”); Nordean, 2021 WL 6134595, at *5-6 (“even

if an ‘official proceeding’ had to be quasi-adjudicative or quasi-judicial in some way—a

requirement missing from the plain text of the statute—because Congress’s certification of the

Electoral College vote has some of those features, it would pass the test.”).

       That Congress could have elected to limit § 1515(a)(1)(B) to quasi-adjudicative or quasi-

evidentiary settings, yet did not, is made all the more apparent by a comparison with 18 U.S.C.

§ 1505. Section 1505, only a few provisions away, criminalizes obstruction of “the due and

proper administration of the law under which any pending proceeding is being had” by a federal

department or agency. Indeed, § 1505 expressly criminalizes obstruction of “any inquiry or

investigation [that] is being had by” Congress, including by congressional committees and

subcommittees. 18 U.S.C. § 1505; see United States v. Bowser, 964 F.3d 26, 31 (D.C. Cir. 2020).

By contrast, Congress in § 1515(a)(1)(B) elected for broad language—“a proceeding before the

Congress”—that covers a wider range of proceedings than the “inquir[ies] and investigation[s]”

envisioned in § 1505. It would make little sense to read into § 1515(a)(1)(B) unwritten limits that

are written explicitly into § 1505. See Russello v. United States, 464 U.S. 16, 23 (1983) (“We

refrain from concluding here that the differing language in the two subsections has the same

meaning in each. We would not presume to ascribe this difference to a simple mistake in

draftsmanship.”).



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       The defendant also delves into legislative history, but that too lends minimal support to his

extra-textual overlays on the statute. “[T]here is little legislative history that sheds light on the

purposes of” § 1512(c)(2) because it “did not originate in a committee” and “what little history

exists should not be given much weight because it comes in the form of floor statements.”

Montgomery, 2021 WL 6134591, at *15. As for § 1515, to the extent any weight can be placed

on references in a Senate Report (discussing a never-enacted proposal) to prototypical obstruction

scenarios like witness tampering or the taking of evidence (Def. Mot. at 9-11), that same Report

underscored interest in ensuring broad protection “against the rare type of [obstructive] conduct

that is the product of the inventive criminal mind” that might not be as common. S. Rep. 97-532,

at 18 (1982). More fundamentally, the very text of § 1512(c)(2) reaches well beyond witness

tampering and evidence-gathering: it “operates as a catch-all to cover otherwise obstructive

behavior that might not constitute a more specific” obstruction offense. United States v. Petruk,

781 F.3d 438, 447 (8th Cir. 2015) (quoting United States v. Volpendesto, 746 F.3d 273, 286 (7th

Cir. 2104)).

       At bottom, the legislative history cannot cloud or supplant the law that Congress enacted,

and it certainly does not fall to floor statements or committee reports to define the outer bounds or

rarer applications of any statute. The “best evidence of [a statute’s purpose] is the statutory text

adopted by both Houses of Congress and submitted to the President,” West Va. Univ. Hosps.,

Inc. v. Casey, 499 U.S. 83, 98 (1991), and “[i]f the text is clear, it needs no repetition in the

legislative history.” Encino Motorcars, LLC v. Navarro, 138 S. Ct. 1134, 1143 (2018).

       Nor does § 1512’s title—“Tampering with a witness, victim, or an informant”—

accomplish what the legislative history cannot. The defendant suggests that the title implies that

the “official proceeding” definition in § 1515 is geared at witness-tampering and the presentation



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of evidence and therefore does not cover the Electoral College vote certification.          But his

contention runs headlong into “the wise rule” that neither “the title of a statute” nor “the heading

of a section” can “limit the plain meaning of the text.” Brotherhood of R.R. Trainmen v. Baltimore

& Ohio R. Co., 331 U.S. 519, 528-29 (1947). Moreover, as other courts in this district have laid

out, “Section 1512(c) was added in the Sarbanes-Oxley Act, and the title of the relevant section in

the Act is ‘Tampering with a record or otherwise impeding an official proceeding’” (quoting §

1102, 116 Stat. at 807). The title in the U.S. Code is a byproduct of § 1512(c)’s placement in a

preexisting provision; indeed, Congress named that title 20 years before it enacted § 1512(c) in the

Sarbanes-Oxley Act. As such, that title “was not altered to reflect the new subsection’s focus”

and “[t]he titles therefore offer no gloss on subsection (c)(2)’s plain meaning.” Sandlin, 2021 WL

5865006, at *7; see also Montgomery, 2021 WL 6134591, at *15 (“Section 1512(c)(2)’s title in

the U.S. Code is unenlightening, and the title under which it was enacted arguably supports a

broader reading of the statute.”).

       The defendant’s crabbed reading of “proceeding before the Congress” would thus undercut

the broad statute that Congress enacted. And the proposed requirement of a nexus to “the

administration of justice or Congress’ power of inquiry or investigation where witnesses are called

or evidence is presented and considered” is as arbitrary and indeterminate as it is atextual. In the

defendant’s view, for example, an individual who threatened a Senator and a Representative with

injury unless each agreed to object to the Electoral College certification—even though each

Member knew that the objections were frivolous—would not amount to obstruction. Nor would

it appear to cover an individual who paid one of the tellers—who are appointed by the Senate and

House of Representatives to handle the Electoral College votes—to falsify or destroy votes. That

approach fails to recognize that the certification of the Electoral College vote is an official



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proceeding that is “crucial to the conduct of government” and therefore “entitled to go forward

free of corrupting influences that not only delay [it]g but increase the chances of false and unjust

outcomes.” Sutherland, 921 F.3d at 426.

       Ultimately, even if there were a basis for the defendant’s atextual gloss on the statute, the

certification of the Electoral College vote as set out in the Electoral Count Act of 1887—with its

myriad aspects of formality detailed above, and various features resembling an “adjudicative”

proceeding before a tribunal, from the convening of a deliberative body, to the lodging and

consideration of objections, and the delivery of a verdict before dissolving—would so qualify.

See Vasan Kesavan, Is the Electoral Count Act Unconstitutional?, 80 N.C. L. Rev. 1653, 1659

(2002) (Under the Electoral Count Act, “the President-elect is not elected by ‘We the People’ on

election day, or even by the electors on the day they cast their votes, but by the joint convention

of the Senate and House of Representatives on the day the electoral votes are formally counted”);

see Nordean, 2021 WL 6134595, at *5-6. Whatever the outer limits of a “proceeding before the

Congress,” and however rarely obstruction of an Electoral College vote certification may occur or

arise in the U.S. Reports, the Electoral College vote certification falls well within them.

       B.      “Otherwise” in Section 1512(c)(2) Does Not Require that Obstructive Conduct
               Impair the Integrity and Availability of Evidence

       The defendant alternately argues that the word “otherwise” in § 1512(c)(2), read in light of

the structure of the statute, limits the reach of the statute to “the same kind of obstructive impact

as the ... forms of obstruction” listed in § 1512(c)(1). Section 1512(c) provides:

       (c) Whoever corruptly—

               (1) alters, destroys, mutilates, or conceals a record, document, or other object, or
       attempts to do so, with the intent to impair the object’s integrity or availability for use in
       an official proceeding; or
               (2) otherwise obstructs, influences, or impedes any official proceeding, or attempts
       to do so,

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       shall be fined under this title or imprisoned not more than 20 years, or both.

Id. (emphasis added). Specifically, the defendant theorizes that the word “otherwise” signifies

that § 1512(c)(2) applies only to “acts that have the same kind of evidence-obstructive impact as

the listed forms of obstruction in (c)(1)—altering, destroying, mutilating, or concealing a record,

document, or other object—but cause this impairment … in a different way or manner and/or to

other forms of evidence” (Def. Mot. at 23).           This novel, limiting, and atextual gloss on

§ 1512(c)(2) is likewise untenable and far from the most natural reading of the statute.

       The defendant relies heavily on the Supreme Court’s decision in Begay v. United States,

553 U.S. 137 (2008), as purported authority. But Begay does not stand for the proposition the

defendant claims, is not analogous, and ultimately lends little support to the crabbed interpretation

of § 1512(c)(2) as criminalizing only the obstruction, influence, or impediment of an official

proceeding that has equivalent “evidence-obstructive impact” as the desecration of records. See

United States v. Phillips, 583 F.3d 1261, 1262 (10th Cir. 2009) (affirming application of

§ 1512(c)(2) to obstructive conduct without requiring that conduct to have impaired evidence).

       To start, as another court in this district recently ruled, “Begay does little to advance

Defendant[’s] contention here.”      Montgomery, 2021 WL 6134591, at *11.               In Begay, the

Supreme Court confronted the Armed Career Criminal Act’s (“ACCA”) definition of “violent

felony”—namely, the language encompassing any crime that “is burglary, arson, or extortion,

involves use of explosives, or otherwise involves conduct that presents a serious potential risk of

physical injury to another.” 18 U.S.C. § 924(e)(2)(B)(ii). The Begay opinion contained a

relatively cursory, “remarkably agnostic” discussion of the word “otherwise,” Montgomery, 2021

WL 6134591, at *11, as reproduced in its entirety below:




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        [Section 924(e)(2)(B)(ii)] places the word “otherwise,” just after the examples, so that the
        provision covers a felony that is one of the example crimes “or otherwise involves conduct
        that presents a serious potential risk of physical injury.” § 924(e)(2)(B)(ii) (emphasis
        added). But we cannot agree with the Government that the word “otherwise” is sufficient
        to demonstrate that the examples do not limit the scope of the clause. That is because the
        word “otherwise” can (we do not say must, cf. post, at 1589 – 1590 (SCALIA, J.,
        concurring in judgment)) refer to a crime that is similar to the listed examples in some
        respects but different in others—similar, say, in respect to the degree of risk it produces,
        but different in respect to the “way or manner” in which it produces that risk. Webster's
        Third New International Dictionary 1598 (1961) (defining “otherwise” to mean “in a
        different way or manner”).

553 U.S. at 144. Begay thus assigned “little significance to Congress’s use of the word” and

“merely hinted (in a single sentence)” that it can sometimes—though not always—suggest some

degree of similarity as well as difference between what is listed before and after the “otherwise.”

2021 WL 6134591, at *11. None of that counsels in favor of the defendant’s novel interpretation

of § 1512(c)(2), which takes as its premise that (c)(2) necessarily only criminalizes obstruction of

an official proceeding that has similar “evidence-obstructive impact” as the acts in (c)(1) and

precludes criminalizing obstruction that does not.

        In fact, to the extent Begay’s treatment of “otherwise”—defined as “in a different way or

manner”—is imported to § 1512(c)(2), it counsels in favor of the government’s interpretation.

Justice Scalia’s Begay concurrence observed that the “otherwise” in § 924(e)(2)(B)(ii) did not

connote “any old similarity” between the crimes before and after, but rather “the particular

similarity specified after the ‘otherwise’—i.e., that they all pose a serious potential risk of physical

injury to another.” 553 U.S. at 150-51 (Scalia, J. concurring in the judgment). As Judge Moss

noted in Montgomery, “if one looks to the ‘particular similarity specified after the ‘otherwise’’

in Section 1512(c)(2), the link or similarity between the crimes covered by Sections 1512(c)(1)

and (c)(2) is that both provisions apply to conduct that—directly or indirectly—'obstructs,

influences, or impedes any official proceeding.’” Montgomery, 2021 WL 6134591, at *12. That



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“similarity” does not bolster the defendant’s reading at all, much less limit § 1512(c)(2)’s scope to

those acts that impair evidence equivalently to those in § 1512(c)(1). Indeed, it is already plain

from the statutory text that “the official proceeding is the … object of the intent requirement”

in both § 1512(c)(1) and § 1512(c)(2)—the “indirect object” in § 1512(c)(1) and the “direct object”

in § 1512(c)(2). Montgomery, 2021 WL 6134591, at *12; see also Nordean, 2021 WL 6134595,

at *6 (“The use of the word ‘otherwise’ suggests that Section 1512(c)(2) was intended to target

something different than (c)(1).”).

       More fundamentally, the comparison to Begay is inapt.            Section 1512(c)(1) and §

1512(c)(2) do not relate in the same way that the language before and after the “otherwise” within

§ 924(e)(2)(B)(ii) relate.   In the context of ACCA, where Congress confronted the thorny

challenge of devising one definition of a qualifying “violent felony” from the near-limitless array

of federal and state crimes, it made sense for “otherwise” to play the role of capturing crimes that

approximated in kind and degree the examples (burglary, arson, extortion, and the like) preceding

the word “otherwise.” But “otherwise” as used in § 1512(c)—which sets apart the distinct

subsections of § 1512(c)(1) and § 1512(c)(2), and thus creates a separate prohibition, not merely

an additional term at the end of a list—shouldered no such challenge. Indeed, “otherwise” in

§ 1512(c)(2) is more naturally read to “signal[] a shift in emphasis” between the two somewhat

different means or tools for criminalizing actions that impair official proceedings. Montgomery,

2021 WL 6134591, at *12. The word does not become, as the defendant suggests, “mere

surplusage” (Def. Mot. at 27). Rather, “otherwise” sets apart the statute’s targeting of acts that

alter evidence and thereby indirectly impair official proceedings from the targeting of acts that

directly obstruct the proceedings themselves. And if Congress had wished to limit § 1512(c)(2)

to only those obstructive acts with equivalent “evidence-obstructive impact” to the acts in



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§ 1512(c)(1), “it would have been easy” to borrow from or cross-reference the terms used in

§ 1512(c)(1) to achieve that goal. Id. Congress did not elect to do so. See Mostofsky, 2021 WL

6049891 at *11 (rejecting defendant’s argument that § 1512 only applies to conduct similar to

document destruction and explaining that the defendant’s position “would have the Court ignore

the plain meaning of the words contained in (c)(2)—to wit, ‘obstructs, influences, or impedes’—

which cannot be read so narrowly. The use of ‘otherwise’ is better understood as ‘clarif[ying] that

the latter prohibits obstruction by means other than document destruction.’”); Caldwell, 2021 WL

6062718 at * 14 (“The natural reading of the two sections is that section 1512(c)(2) ‘operates as a

catch-all to cover otherwise obstructive behavior that might not constitute a more specific offense

like document destruction’” (citation omitted)); Nordean, 2021 WL 6134595, at *7 (“Section

1512(c)(2)” is “set apart by a semicolon, and set off in different subsection,” as “the catch-all for

all other efforts to obstruct an official proceeding”). The use of the word ‘otherwise’ suggests

that Section 1512(c)(2) was intended to target something different than (c)(1).”).

       Indeed, it bears mention that numerous courts have rejected similar attempts by defendants

to limit § 1512(c)(2) by reference to § 1512(c)(1), dismissing such efforts as contrary to the

statute’s plain language. In United States v. Ring, 628 F. Supp. 2d 195, 224-25 (D.D.C. 2009),

for instance, Judge Huvelle held that “the meaning of § 1512(c)(2) is plain on its face” and that “§

1512(c)(2)’s application is not limited to the destruction of documents” or to “conduct that is

similar to the type of conduct proscribed by subsection (c)(1)—namely, conduct, that impairs the

integrity or availability of ‘record[s], document[s], or other object[s]’ for use in an official

proceeding.” See also United States v. De Bruhl-Daniels, 491 F. Supp. 3d 237, 252 (S.D. Tex.

2020) (“There is no requirement that an indictment for obstruction under § 1512(c)(2) allege that

a defendant tampered with a tangible object” because that interpretation “is contrary to the plain



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language of the statute”); United States v. Kumar, 2006 U.S. Dist. LEXIS 96142, at *13-15

(E.D.N.Y. Feb. 21, 2007) (declining to limit § 1512(c)(2) to tampering with physical evidence

given “the clear, succinct and unambiguous language” of § 1512(c)(2)). The defendant notably

disclaims the notion that § 1512(c)(2) should be limited to tangible evidence, conceding that this

argument “has been rejected by multiple courts” (Def. Mot. at 23). But in seeking to nonetheless

press ahead with a theory that § 1512(c)(2) should be limited to “acts that have the same kind of

evidence-obstructive impact as the listed forms of obstruction in (c)(1) … but cause this

impairment … in a different way or manner and/or to other forms of evidence,” the defendant

merely adopts an increasingly more complicated gloss on the statute that is on even weaker textual

footing. The defendant fails to heed the very lesson of those cases that have rejected attempts to

read the language of § 1512(c)(1) into § 1512(c)(2)—namely, that § 1512(c)(2)’s clear, broad

language should be applied by its own terms.

       C.      “Corruptly” in Section 1512(c)(2) Does Not Render                    the   Statute
               Unconstitutionally Vague As Applied to the Defendant

       The defendant next argues that § 1512(c)(2)—and principally its use of the word

“corruptly”—is unconstitutionally vague as applied and does not provide fair notice as to the

conduct it proscribes (Def. Mot. at 31). This argument, too, lacks merit. See Sandlin, 2021 WL

5865006; Caldwell, 2021 WL 6062718; Mostofsky, 2021 WL 6049891; Montgomery, 2021 WL

6134591; Nordean, 2021 WL 6134595, at *9-11. The defendant fails to overcome the strong

presumption that § 1512(c)(2) passes constitutional muster. See United States v. Nat’l Dairy

Products Corp., 372 U.S. 29, 32 (1963) (“The strong presumptive validity that attaches to an Act

of Congress has led this Court to hold many times that statutes are not automatically invalidated

as vague simply because difficulty is found in determining whether certain marginal offenses fall

within their language.”).

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       The Due Process Clauses of the Fifth and Fourteenth Amendments prohibit the government

from depriving any person of “life, liberty, or property, without due process of law.” U.S. Const.

amends. V, XIV. An outgrowth of the Due Process Clause, the “void for vagueness” doctrine

prevents the enforcement of a criminal statute that is “so vague that it fails to give ordinary people

fair notice of the conduct it punishes” or is “so standardless that it invites arbitrary enforcement.”

Johnson v. United States, 576 U.S. 591, 595 (2015). To ensure fair notice, “‘[g]enerally, a

legislature need do nothing more than enact and publish the law, and afford the citizenry a

reasonable opportunity to familiarize itself with its terms and to comply.’” United States v.

Bronstein, 849 F.3d 1101, 1107 (D.C. Cir. 2017) (quoting Texaco, Inc. v. Short, 454 U.S. 516, 532

(1982)). To avoid arbitrary enforcement, the law must not “vest[] virtually complete discretion” in

the government “to determine whether the suspect has [violated] the statute.” Kolender v. Lawson,

461 U.S. 352, 358 (1983). The “touchstone” of vagueness analysis “is whether the statute, either

standing alone or as construed, made it reasonably clear at the relevant time that the defendant’s

conduct was criminal.” United States v. Lanier, 520 U.S. 259, 267 (1997).

       A statute is not unconstitutionally vague simply because its applicability is unclear at the

margins, United States v. Williams, 553 U.S. 285, 306 (2008), or because reasonable jurists might

disagree on where to draw the line between lawful and unlawful conduct in particular

circumstances, Skilling v. United States, 561 U.S. 358, 403 (2010). “As a general matter,” a law is

not vague where it “call[s] for the application of a qualitative standard . . . to real-world conduct;

‘the law is full of instances where a man’s fate depends on his estimating rightly . . . some matter

of degree.’” Johnson, 576 U.S. at 603-04 (quoting Nash v. United States, 229 U.S. 373, 377

(1913)). A statutory provision is therefore “not rendered unconstitutionally vague because it

‘do[es] not mean the same thing to all people, all the time, everywhere.’” Bronstein, 849 F.3d at



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1107. A statute is instead vague where it fails to specify any “standard of conduct ... at all.” Coates

v. Cincinnati, 402 U.S. 611, 614 (1971). That is, a provision is impermissibly vague only if it

requires proof of an “incriminating fact” that is so indeterminate as to invite arbitrary and “wholly

subjective” application. United States v. Williams, 553 U.S. 285, 306 (2008); see Smith v. Goguen,

415 U.S. 566, 578 (1974).

        Section 1512(c)(2)’s prohibition on “corruptly ... obstruct[ing], influenc[ing], or

imped[ing]” an “official proceeding” gives rise to “no such indeterminacy.” Williams, 553 U.S. at

306. The statute requires that a defendant, acting with consciousness of wrongdoing and intent to

obstruct, attempts to or does undermine or interfere with a statutorily defined official proceeding.

While “it may be difficult in some cases to determine whether these clear requirements have been

met,” “‘courts and juries every day pass upon knowledge, belief and intent—the state of men’s

minds—having before them no more than evidence of their words and conduct, from which, in

ordinary human experience, mental condition may be inferred.’” Id. (quoting American

Communications Ass’n, CIO v. Douds, 339 U.S. 382, 411 (1950)).

        The defendant’s attack on “corruptly” (Def. Mot. at 31-39), relying on United States v.

Poindexter, 951 F.2d 369 (D.C. Cir. 1991), is unavailing. The D.C. Circuit in Poindexter held

that the term “corruptly” was “vague . . . in the absence of some narrowing gloss.” 951 F.2d at

378. Poindexter is inapposite for three reasons. 2 See, e.g., Caldwell, 2021 WL 6062718, at *10

(explaining “why this case is not controlled by Poindexter”); Nordean, 2021 WL 6134595, at *10

(“Poindexter does not mandate that the Court hold Section 1512(c) unconstitutionally vague in

this case.”).


2
  Poindexter was also superseded in significant part by the False Statements Accountability Act of 1996, Pub. L. No.
104-292, 110 Stat. 3459. As codified at 18 U.S.C. § 1515(b), the Act provides that the term “corruptly” in § 1505
“means acting with an improper purpose, personally or by influencing another, including making a false or misleading
statement.”

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          First, the D.C. Circuit narrowly confined Poindexter’s analysis to § 1505’s use of

“corruptly,” and expressly declined to hold “that term unconstitutionally vague as applied to all

conduct.” 951 F.2d at 385. Five years later, in United States v. Morrison, 98 F.3d 619 (D.C. Cir.

1996), the D.C. Circuit rejected a Poindexter-based vagueness challenge to 18 U.S.C. § 1512(b)

and affirmed the conviction of a defendant for “corruptly” influencing the testimony of a potential

witness at trial. Id. at 629-30. Other courts have similarly recognized “the narrow reasoning used

in Poindexter” and “cabined that vagueness holding to its unusual circumstances.” United States

v. Edwards, 869 F.3d 490, 502 (7th Cir. 2017); see also, e.g., United States v. Kelly, 147 F.3d 172,

176 (2d Cir. 1998) (rejecting vagueness challenge to “corruptly” in 26 U.S.C. § 7212(a)); United

States v. Shotts, 145 F.3d 1289, 1300 (11th Cir. 1998) (same for 18 U.S.C. § 1512(b)); United

States v. Brenson, 104 F.3d 1267, 1280 (11th Cir. 1997) (same for 18 U.S.C. § 1503). The

defendant’s invocation of Poindexter accordingly fails to establish that Section 1512(c) suffers the

same constitutional indeterminacy.

          Second, Poindexter predated the Supreme Court’s decision in Arthur Andersen LLP v.

United States, 544 U.S. 696 (2005). There, the Court explained the terms “‘[c]orrupt” and

‘corruptly’ are normally associated with wrongful, immoral, depraved, or evil.” Id. at 705 (citation

omitted). In doing so, the Court “did not imply that the term was too vague.” Edwards, 869 F.3d

at 502.

          Third, courts have encountered little difficulty when addressing “corruptly” in § 1512(c)(2)

following Arthur Andersen. For purposes of § 1512(c)(2), “corruptly” includes two components:

(1) intent to obstruct, impede, or influence; and (2) wrongfulness. See United States v. Friske, 640

F.3d 1288, 1291 (11th Cir. 2011) (to act “corruptly” is to act “with an improper purpose” and “with

the specific intent to subvert, impede or obstruct”) (quoting United States v. Mintmire, 507 F.3d



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1273, 1289 (11th Cir. 2007)); United States v. Gordon, 710 F.3d 1124, 1151 (10th Cir. 2013)

(same); United States v. Watters, 717 F.3d 733, 735 (9th Cir. 2013) (upholding jury instruction

defining “corruptly” as acting with “consciousness of wrongdoing”) (internal quotation marks

omitted); United States v. Matthews, 505 F.3d 698, 705 (7th Cir. 2007) (upholding instruction

defining “[c]orruptly” as acting “with the purpose of wrongfully impeding the due administration

of justice”); Seventh Circuit Pattern Criminal Jury Instruction for § 1512(c) (“A person acts

‘corruptly’ if he or she acts with the purpose of wrongfully impeding the due administration of

justice.”).

        That the term “corruptly” requires the government to prove that a defendant acted not only

with intent to obstruct but also with “consciousness of wrongdoing” ensures that § 1512(c)(2)

“reaches only” those who have committed felony obstruction. Andersen, 544 U.S. at 706. That

limitation is particularly important where, as here, the defendant is alleged to have obstructed a

congressional proceeding.

        To prove that an attempted or actual obstruction of a congressional proceeding amounts to

felony obstruction in violation of 18 U.S.C. § 1512(c)(2), the government must therefore adduce

evidence establishing beyond a reasonable doubt that a defendant acted intentionally and with

“consciousness of wrongdoing.” Andersen, 544 U.S. at 706. The indictment in this case alleges

that the defendant participated in felony destruction of government property, and willfully, by

means of punching or kicking, injured windows of the Speaker’s Lobby doors and caused damage

in excess of $1,000 (D.E. 6, Count 1). It alleges that the defendant obstructed and impeded the

congressional proceeding to certify the election results through, in part, that destruction of federal

property and other disorderly conduct (D.E. 6, Count 4). It alleges that the defendant willfully

and knowingly engaged in an act of physical violence (D.E. 6, Count 7). Evidence indicates that



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the defendant made his way through multiple areas of the Capitol Building where crowds he was

part of pushed their way past, and overpowered, Capitol Police lines. It shows that the defendant

was one of the first rioters to make his way to the Speaker’s Lobby doorway, which was guarded

by Capitol Police officers and mere feet away from the House Chamber. It indicates that the

defendant stood at the front of the raucous, aggressive crowd seeking to breach the Speaker’s

Lobby doors, watched another rioter violently smash the glass windows of the doorway with his

fists, and then handed that rioter a helmet with which he could and did smash out the windows

with more force. In short, the allegations entail obstructive acts by the defendant that fall on the

obviously unlawful side of the line. And for that reason, the defendant’s assertions that there is

no “limiting principle” to the government’s reading of the statute (Def. Mot. at 37) are unavailing.

       The statute’s “corruptly” element does not invite arbitrary or wholly subjective application

by either courts or juries. Indeed, “[o]ne to whose conduct a statute clearly applies may not

successfully challenge it for vagueness.” Parker v. Levy, 417 U.S. 733, 756 (1974). Whatever the

“uncertainty around the edges,” Edwards, 869 F.3d at 502, § 1512(c)’s “corruptly” element

provided ample notice to the defendant that his conduct was criminal. See Mostofsky, 2021 WL

604891 at *11 (rejecting contention that § 1512(c)(2) is vague as applied to Mostofsky); Sandlin,

2021 WL 5865006 at *10-14 (rejecting defendant’s challenge that “corruptly” was

unconstitutionally vague as used in § 1512(c)(2)); Montgomery, 2021 WL 6134591, at *19 (“the

Supreme Court did not cast any doubt on the constitutional adequacy of a ‘corruptly’ standard …

Neither ignorance about the existence of a statute nor reasonable debate about how best to interpret

the statute render the law unconstitutionally vague…”); Nordean, 2021 WL 6134595, at *12 (“the

Court has little problem finding that the use of the word ‘corruptly’ does not render Section

1512(c)(2) unconstitutionally vague as applied to Defendants”).



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       The defendant points to other cases of uncharged protestors from incidents in the Capitol

Building and cherry picks a number of factually distinguishable January 6 defendants, claiming

that the “parameters for charging and prosecuting individuals for their actions of January 6 is

entirely arbitrary, entirely unclear, and entirely vague” (Def. Mot. at 35-50, 51). This effort is

flawed. Addressing similar arguments in Nordean, Judge Kelly opined that such examples “show

‘the Executive’s exercise of discretion over charging determinations,’” and noted that “‘the

presence of enforcement discretion alone does not render a statutory scheme unconstitutionally

vague.’” 2021 WL 6134595, at *12.

       Moreover, the vagueness doctrine asks whether “the statute … provide[s] a person of

ordinary intelligence fair notice of what is prohibited.” Williams, 553 U.S. at 304 (emphasis

added). “Close cases can be imagined under virtually any statute. The problem that poses is

addressed, not by the doctrine of vagueness, but by the requirement of proof beyond a reasonable

doubt.” See Williams, 553 U.S. at 306. The defendant cites no authority, and the government has

found none, showing that charging decisions postdating the offense conduct have any bearing on

this inquiry. The relevant question turns on whether the statute fairly informed the defendant that

he would face criminal sanction for his conduct on January 6, 2021. The answer is yes, for the

reasons articulated above. Nordean, 2021 WL 6134595, at *13 (“Section 1512(c)(2) is not

‘narrow’ at all. It sweeps broadly—punishing a host of ‘corrupt’ conduct. Thus, it hardly lulled

Defendants into a false sense of security…”). If the government fails to carry its burden on the

statutory elements at trial, the jury will say so. But that future presentation has no bearing on the

question here—whether § 1512(c)’s text provided the defendant with adequate notice.

       D.      The Rule of Lenity Does Not Counsel a Different Interpretation.

       Finally, the defendant invokes the rule of lenity to contend that his conduct falls outside


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the scope of § 1512(c)(2), contending that “ambiguity concerning the ambit of criminal statutes”—

here, the defendant’s professed uncertainty as to why his conduct is unlawful—“should be resolved

in favor of lenity.” Yates v. United States, 574 U.S. 528, 547-48 (2015). But the rule of lenity

has no application here.

       The rule of lenity “only applies if, after considering text, structure, history, and purpose,

there remains a grievous ambiguity or uncertainty in the statute, such that the Court must simply

guess as to what Congress intended.” Barber v. Thomas, 560 U.S. 474, 488 (2010) (citation and

internal quotation marks omitted); see also Shular v. United States, 140 S. Ct. 779, 789 (2020)

(Kavanaugh, J., concurring).     As discussed above, there is no grievous ambiguity. Section

1512(c)(2)’s text, structure, history, and purpose make clear that it functions as a broad catch-all

prohibition on obstructive conduct that covers “otherwise obstructive behavior that might not

constitute a more specific” obstruction offense. Petruk, 781 F.3d at 447. And § 1512(c) provides

ample notice to the defendant that his alleged conduct was criminal.

       The Supreme Court’s plurality opinion in Yates found the rule of lenity “relevant” in part

given the absence of limiting principles under a broad construction of 18 U.S.C. § 1519. See Yates,

574 U.S. at 548. But neither of the features that constrain § 1512(c)(2)’s reach—a nexus to a

contemplated official proceeding and the government’s requirement to establish that the defendant

acted “corruptly”—are present in § 1519. Section 1519 requires that the defendant act “knowingly”

and “with the intent to impede, obstruct, or influence,” but does not impose the more stringent

“corruptly” mens rea. And courts of appeals have uniformly concluded that § 1519 does not include

a “nexus” requirement. See United States v. Scott, 979 F.3d 986, 992 (2d Cir. 2020) (Supreme

Court’s decisions in Marinello, Arthur Andersen, and Aguilar do not “overrule[]”existing circuit

precedent that § 1519 “does not have a nexus requirement”); United States v. Moyer, 674 F.3d



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192, 209 (3d Cir. 2012) (declining to extend nexus requirement from § 1503 and § 1512(b)(2) to

§ 1519); United States v. Kernell, 667 F.3d 746, 753-55 (6th Cir. 2012); United States v. Yielding,

657 F.3d 688, 712-14 (8th Cir. 2011); see also S. Rep. No. 107- 146, at 14-15 (“[§ 1519] is

specifically meant not to include any technical requirement, which some courts have read into other

obstruction of justice statutes, to tie the obstructive conductto a pending or imminent proceeding or

matter.”).

       In any event, even if § 1512(c)(2)’s application to this particular case was not expressly

anticipated by Congress, that does not establish ambiguity; it merely underscores the breadth of

the legislative command. That is so even if the statute’s application in a particular case goes

“beyond the principal evil” legislators may have intended or expected to address. Oncale v.

Sundowner Offshore Servs., Inc., 523 U.S. 75, 79 (1998). And any policy-based suggestion “that

the current scheme should be altered,” Intel Corp. Inv. Policy Comm. v. Sulyma, 140 S. Ct. 768,

778 (2020), ought to be addressed to Congress, not this Court, see, e.g., United States v. Rodgers,

466 U.S. 475, 484 (1984) (“Resolution of the pros and cons of whether a statute should sweep

broadly or narrowly is for Congress.”).

       The defendant intimates that to the extent his role in interfering with the Electoral College

vote certification warranted prosecution, he only should have been charged under the “other more

definitive statutes” beyond § 1512(c)(2) that “he has, in fact, been charged with”—namely, 18

U.S.C. § 1752(a)(2) and 40 U.S.C. § 5104 (Def. Mot. at 52).      But the premise and merits of that

claim are flawed. The mere fact that multiple criminal statutes apply to an individual’s conduct

does not render prosecution under one (or more) of those statutes suspect; indeed, “overlap” is not

“uncommon in [federal] criminal statutes.” Loughrin v. United States, 573 U.S. 351, 358 n.4

(2014); see also Hubbard v. United States, 514 U.S. 695, 715 n.14 (1995) (“Congress may, and



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often does, enact separate criminal statutes that may, in practice, cover some of the same

conduct.”); United States v. Batchelder, 442 U.S. 114, 123 (1979) (“So long as overlapping

criminal provisions clearly define the conduct prohibited and the punishment authorized, the notice

requirements of the Due Process Clause are satisfied.”). Whatever overlap exists between the

statutes is no license to manufacture grievous ambiguities with a statute where there are none, as

is the case with § 1512(c)(2), or trigger application of the rule of lenity.

       At bottom, Congress’s certification of the Electoral College vote on January 6, 2021 was

an “official proceeding.” Nothing in the word “otherwise” in § 1512(c)(2) limits its scope to

obstruction that impairs the integrity of availability of evidence. Nor does the word “corruptly”

in § 1512(c)(2) render the statute or its application to this case unconstitutionally vague. There is

no ambiguity, let alone a grievous ambiguity, as to whether the alleged obstructive conduct falls

within the ambit of § 1512(c)(2).

                                          CONCLUSION

       For the foregoing reasons, and any additional reasons as may be cited at a hearing on this

motion, the government respectfully requests that the defendant’s motion be denied.

                                                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 26, 2022, I caused a copy of the foregoing motion to be

served on counsel of record via electronic filing.

                                                      /s/ Candice C. Wong
                                                      Candice C. Wong
                                                      Assistant United States Attorney




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